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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

 UNITED STATES OF AMERICA,                   ) CASE NO.: 3:22CR274
                                             )
           Plaintiff,                        ) JUDGE JAMES R. KNEPP, II
                                             )
      v.                                     )
                                             )
 ANTHONY THEODOROU,                          ) GOVERNMENT’S RESPONSE IN
                                             ) OPPOSITION TO THEODOROU’S
           Defendant.                        ) MOTION FOR SEVERANCE (DOC. 33)
                                             )
                                             )
                                             )
                                             )
     Now comes the United States of America by and through counsel, Michael J. Freeman

and Alissa M. Sterling, Assistant United States Attorneys, and respectfully request the Court

deny the Defendant’s request for severance because he has not met the “heavy burden” needed to

justify such an action.

       A.      Theodorou fails to demonstrate that this case is one of the exceptional cases
               in which the general rule of joinder should be disregarded.

       “As a general rule, persons jointly indicted should be tried together because ‘there is

almost always common evidence against the joined defendants that allows for the economy of a

single trial.’” United States v. Lopez, 309 F.3d 966, 971 (6th Cir. 2002) (quoting United States v.

Phibbs, 999 F.2d 1053, 1067 (6th Cir. 1993)). There is an exception to this general rule that

permits severance but only if there would be substantial prejudice to a defendant in a joint trial.

Fed. Crim. Rule 14. However, courts place a “heavy burden” on defendants seeking severance

on this basis, and typically a conspiracy charge provides an adequate basis for a single trial.

United States v. Licavoli, 725 F.2d 1040, 1051 (6th Cir. 1984) (citing Opper v. United States,

348 U.S. 84 (1954)); See e.g. United States v. Kelley, 461 F.3d 817, 830 (6th Cir. 2006) (“Joinder
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is permissible in a conspiracy count and substantive counts arising out of the conspiracy because

the fundamental principle of a conspiracy charge is the agreement to a common plan or scheme

to perpetrate some illegal activity.”).

       "[I]t is not enough merely to show that separate trials might have provided the defendant

a better shot at acquittal." United States v. Berg, 714 F.3d 490, 496 (7th Cir. 2013). A defendant

is prejudiced only if the jury would be unable to keep the evidence from each offense separate

and unable to render a fair and impartial verdict on each offense. United States v. Rox, 692 F.2d

453, 454 (6th Cir. 1982); See also Berg, 714 F.3d at 496 (The defendant bears the "heavy

burden" of establishing that the joint trial "prevent[ed] the jury from arriving at a reliable

judgment as to guilt or innocence."); Zafiro v. United States, 506 U.S. 534, 539 (1993) ("a

serious risk that a joint trial would ... prevent the jury from making a reliable judgment about

guilt or innocence"); United States v. Benedict, 855 F.3d 880, 885 (8th Cir. 2017) ("This trial

was not the 'unusual case' in which the efficiency of joinder would have been outweighed by

difficulty for the jury to analyze separately the evidence against each individual defendant.").

               1. There is minimal spillover evidence from the other defendants to
                  Theodorou

       The requisite "heavy burden" of showing prejudice is not satisfied by showing that one

defendant is less culpable than another or by a complaint of “spillover” of damaging evidence

presented against a codefendant. United States v. Johnson, 763 F.2d 773, 777 (6th Cir. 1985);

Lopez, 309 F.3d at 971; see also United States v. Morgan, 748 F.3d 1024 (10th Cir. 2014);

United States v. White, 737 F.3d 1121 (7th Cir. 2013).

       While spillover evidence alone is not a basis for severance, the Defendant also incorrectly

informs the Court of the type of spillover evidence in this case. The Defendant argues that

“spillover evidence is a problem” with one of his principal contentions being that in a joint trial
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the dash camera footage of the murder would be admitted, inferring that such evidence would not

be admitted in a solo trial. Such an inference is incorrect. The video footage of the murder is

relevant and admissible evidence against Theodorou even if tried separately.

       Theodorou is charged in Counts 1 through 5. Each count has an enhanced penalty if the

use of the controlled substance imported (Counts 1, 2) or distributed (Counts 3- 5) resulted in

death. That determination is for the jury and must be proven beyond a reasonable doubt,

meaning that any evidence that proves to the jury that the use of controlled substance imported or

distributed resulted in death is relevant as to Theodorou. One of the best pieces of evidence on

this point is the dash camera footage showing the actual distribution and death caused by the

controlled substance imported by Theodorou. Accordingly, the dash camera footage of the

murder is not “spillover” evidence rather it is direct evidence against Theodorou.

       Similarly, Count 4 of the Indictment alleges that Amanda and Theodorou conspired and

agreed to possess with the intent to distribute a controlled substance, Etorphine. The distribution

in this case is the forcible transfer of Etorphine to T.H. As such, evidence showing the forcible

transfer of the controlled substance is the very object of the conspiracy and shows their

agreement.

       Even for the substantive counts, Theodorou can be found guilty of the charge even

without personally committing the crime so long as he aided, abetted, counseled, commanded,

induced, or procured the crime. United States v. Katuramu, 2006 WL 773038, 2006 U.S. App.

LEXIS 7640 (6th Cir. 2006) (unpublished); See Pattern Crim. Jury Inst. 6th Cir. 4.01 (2022).

Therefore, the fact Theodorou is not in the dash camera footage at the time of the distribution is

not dispositive nor make it inadmissible evidence against him.
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       Accordingly, the dash camera footage is direct evidence against Theodorou, and

therefore, is not “spillover evidence” justifying a separate trial.

               2. Any Bruton issue can be resolved by redactions

       “An accused is deprived of his rights under the Confrontation Clause when the

confession of a non-testifying codefendant that implicates the accused is introduced into

evidence at their joint trial.” United States v. Cope, 312 F.3d 757, 780 (6th Cir. 2002) (citing

Bruton v. United States, 391 U.S. 123, 137, 88 S.Ct. 1620, 20 L.Ed.2d 476 (1968)). A jury

instruction directing the jury to only consider the confession against the defendant making the

statements does not cure this defect. Id. This Bruton rule, as it is known, extends to statements by

codefendants and not just to confessions. Id. (citing United States v. Bartle, 835 F.2d 646, 651

(6th Cir. 1987).

       However, the government is permitted to present a defendant’s confession that implicates

other codefendants if the names of the codefendants are redacted or removed, even if the jury

could link the testimony to a particular codefendant though other evidence. See United States v.

Robinson, 872 F.3d 760, 778 (6th Cir. 2017) (finding “proper redactions can cure even

‘confessions incriminating by connection,’ i.e., statements that do not incriminate a co-defendant

on their own but become incriminating ‘when linked with evidence introduced later at trial.’”)

       Here, the government intends to comply with the Bruton standard and redact

Theodorou’s name or references to him in Amanda’s and Anita Green’s interviews. Just like the

court found in Robinson, these redactions will cure any Bruton issue. Furthermore, any

prejudice to Theodorou is severely lessened because the government intends to admit his

interview where he confessed to the importation of the controlled substance, the purpose for

importing the controlled substance, and his role in the distribution and cover up of the crimes.
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       B.     Conclusion

       Theodorou is charged with the exact same crimes as Amanda Hovanec, including

multiple conspiracy charges. As such, the burdens of proof, elements, and relevant and

admissible evidence will be the exact same for both. There will be no spillover evidence and any

Bruton issue can be easily resolved with redactions. Accordingly, the Defendant has failed to

meet the requisite “heavy burden,” and therefore, the Court should deny his motion to sever.



                                                    Respectfully submitted,

                                                    MICHELLE M. BAEPPLER
                                                    FIRST ASSISTANT U.S. ATTORNEY


                                                    /s/ Michael J. Freeman
                                                    /s/ Alissa M. Sterling
                                                    Michael J. Freeman (OH: 0086797)
                                                    Alissa M. Sterling (OH: 0070056)
                                                    Assistant United States Attorneys
                                                    Four Seagate, Suite 308
                                                    Toledo, OH 43604
                                                    (419) 259-6376
                                                    (419) 259-6360 (facsimile)
                                                    Michael.Freeman@usdoj.gov
                                                    Alissa.Sterling@usdoj.gov
